       Case 1:14-cv-09989-AT-RWL Document 167 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             10/19/2020
EMIL SASHA, et al.,                                            :
                                                               :   14-CV-9989 (AT) (RWL)
                                    Plaintiffs,                :
                                                               :   ORDER
                  - against -                                  :
                                                               :
PETER L. MALKIN, et al.,                                       :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        The Court is in receipt of the parties' October 16, 2020 letter concerning proposed

next steps.      (Dkt. 166) No motions shall be made without adhering to this Court's

individual rules, including filing pre-motion conference letters. By October 29, 2020, the

parties shall meet and confer and file a joint letter stating the proposed timing for lifting

the stay in this action, and of any proposed motion, including to amend or to dismiss.

                                                     SO ORDERED.



                                                     _______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: October 19, 2020
       New York, New York

Copies transmitted this date to all counsel of record.
